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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

JEFFREY SMITH,                                          )
                                                        )          Case No. 17-C-4902
           Plaintiff,                                   )
                                                        )          Magistrate Judge Daniel G. Martin
vs.                                                     )
                                                        )
CITY OF CHICAGO and Chicago Police                      )
Officers VINCENT FRANCONE, RONALD                       )
ZUNIGA and TENA AL FARAH,                               )
                                                        )
           Defendants.                                  )


                                   AGREED ORDER OF DISMISSAL

         This matter coming before the Court on the Stipulation of the parties, the parties having reached
agreement to settle this matter, and the respective parties being represented by counsel, Plaintiff, Jeffrey
Smith, by his attorneys, G. Flint Taylor, Jr., Shubra Ohri, and Brad Thomson; and Defendants, the City of
Chicago, Vincent Francone, Ronald Zuniga, and Tena Al Farah, by their attorney, Timothy P. O’Connor,
Special Assistant Corporation Counsel, the Court being otherwise fully advised in the premises, orders as
follows:

         All of the claims of Plaintiff, Jeffrey Smith, against Defendants, the City of Chicago, Vincent
Francone, Ronald Zuniga, and Tena Al Farah, are dismissed with prejudice and with each side bearing its
own costs and attorneys' fees.

                                                            ENTER:_____________________________
                                                            The Honorable Daniel G. Martin
Timothy P. O’Connor                                         United States Magistrate Judge
Special Assistant Corporation Counsel                       DATED:_________________
Meyer & O’Connor, LLC
332 South Michigan Ave., Suite 1150
Chicago, IL 60604
(312) 346-9000
Attorney No. 6201721
